                                                                        SO ORDERED.


                                                                         Dated: February 22, 2018

1

2     SEV EN TH FLOOR CAM ELBAC K ESPLANAD E II
      2525 EA ST CAM ELBACK ROAD
3                                                                       Daniel P. Collins, Chief Bankruptcy Judge
      PHOENIX, ARIZONA 85016
                                                                        _________________________________
4     TELEPHON E: (602) 255-6000
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5
      Mark S. Bosco
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      Leonard J. McDonald
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      Attorneys for Movant
8     ljm@tblaw.com

9     13-08726

10                              IN THE UNITED STATES BANKRUPTCY COURT

11                                     FOR THE DISTRICT OF ARIZONA

12

13    IN RE:                                                            No. 2:13-bk-14029-DPC

14    John McLoughlin                                                          Chapter 13

15
                     Debtor.                                                       ORDER
16    _________________________________________
      HSBC Bank USA National Association, as Trustee
                                                                       (Related to Docket #224)
17    (The "Trustee") for the holders of Deutsche Alt-A
      Securities, Inc. Mortgage Loan Trust, Series 2007-
18    RAMP1
19                    Movant,
20
               vs.

21    John McLoughlin, Debtor, Russell Brown,
      Trustee.
22
                      Respondents.
23

24
               Movant's Motion for Relief from the Automatic Stay and Notice along with the form of proposed
25
      Order Lifting Stay, having been duly served upon Respondents, Respondents' counsel and Trustee, if any,
26
      and no objection having been received, and good cause appearing therefore,




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1             IT IS HEREBY ORDERED that all stays and injunctions, including the automatic stays imposed
2     by U.S. Bankruptcy Code 362(a) are hereby vacated as to Movant with respect to that certain real property
3     which is the subject of a Deed of Trust dated August 23, 2006 and recorded in the office of the Maricopa
4     County Recorder wherein HSBC Bank USA National Association, as Trustee (The "Trustee") for the
5     holders of Deutsche Alt-A Securities, Inc. Mortgage Loan Trust, Series 2007-RAMP1 is the current
6     beneficiary and John McLoughlin has an interest in, further described as:
7             That portion of the Northwest quarter of section 15, Township 2 South, Range 6 East of the Gila
              and Salt River Base and Meridian, Maricopa County, Arizona, described as follows;
8
              COMMENCING at the Northeast corner of the Southwest quarter of the Northwest quarter of said
9             Section 15;

10            Thence South 00 degrees 13 minutes 56 seconds West along the East line of said Southwest quarter
              of the Northwest quarter of Section 15, a distance of 80.26 feet to the Northeast corner of the certain
11            parcel of land described in Document No. XX-XXXXXXX, records of Maricopa County, Arizona,
              hereafter referred to as the Archer Parcel;
12
              Thence South 89 degrees 51 minutes 00 seconds West along the North line of said Archer Parcel, a
13            distance of 202.01 feet to the Northwest comer of said Parcel and the TRUE POINT OF
              BEGINNING;
14
              Thence continuing South 89 degrees 1 minutes 00 seconds West, a distance of 175.00 feet to a point
15            on the East line of certain parcel of land described in Document No. XX-XXXXXXX, records of
              Maricopa County, Arizona hereafter referred to as the Oliver Parcel;
16
              Thence North 00 degrees 13 minutes 56 seconds East along the East line of said Oliver Parcel, a
17            distance of 250.27 feet to the North line of the South 170 feet of the Northwest quarter of the
              Northwest quarter of said Section 15;
18
              Thence North 89 degrees 51 minutes 00 seconds East along said North line, a distance of 175.00
19            feet to the Northwest corner of that certain parcel of land described in document No. 99- 0770887,
              records of Maricopa County, Arizona, hereafter referred to as the Green Parcel;
20
              Thence South 00 degrees 13 minutes 56 seconds West along the West line of said Green Parcel, a
21
              distance of 250.27 feet to the TRUE POINT OF BEGINNING.

              IT IS FURTHER ORDERED that Movant, its assigns and/or successors in interest its assigns and/or
22
      successor in interest is hereby authorized to take whatever state law or contractual rights it may have in the
23
      above legally described property, in its discretion.
24
              IT IS FURTHER ORDERED that this Order shall remain in effect in any bankruptcy chapter to
25
      which the Debtor may convert.
26
              SIGNED AND DATED ABOVE.




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